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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF IDAHO

 LINDSAY HECOX, and JANE DOE with
 her next friends JEAN DOE and JOHN               Case No. 1:20-cv-00184-DCN
 DOE,
                                                  Hon. David C. Nye
                     Plaintiffs,
       v.                                         STIPULATION TO DISMISS BOISE
                                                  SCHOOL DISTRICT DEFENDANTS
 BRADLEY LITTLE, in his official
 capacity as Governor of the State of Idaho,
 et al.

                     Defendants,
 and

MADISON KENYON, et al.,

                     Intervenors.


       The parties, through their undersigned counsel, agree as follows:

       1.     The complaint in this case (Dkt. 1) alleges claims on behalf of two plaintiffs:

Lindsay Hecox and Jane Doe. The complaint alleges claims against nine defendants or categories

of defendants: Governor Little; Sherri Ybarra; members of the State Board of Education; Boise

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State University; Marlene Tromp; the Independent School District of Boise City #1; Coby Dennis;

members of the Independent School District of Boise City #1; and members of the Idaho Code

Commission.

       2.      The claims against the Independent School District of Boise City #1, Coby Dennis,

and members of the Independent School District of Boise City #1 are claims alleged solely on

behalf of Jane Doe.

       3.      As the Ninth Circuit’s June 24, 2021 Order indicates, the “parties agree that Jane

Doe’s claim is now moot because she graduated from [Boise High School] and is planning to

attend college out of state.” Order at 2 n.1.

       4.      Accordingly, all claims in this case against the Independent School District of Boise

City #1, Coby Dennis, and members of the Independent School District of Boise City #1 should

be dismissed without prejudice, and the Court’s entry of preliminary injunctive relief against these

defendants should be vacated. The parties stipulate only to vacatur of the entry of preliminary

injunctive relief against these defendants; the present stipulation does not extend to or request

vacatur of the Court’s Memorandum Decision.

       5.      A dismissal of the claims against the Independent School District of Boise City #1,

Coby Dennis, and members of the Independent School District of Boise City #1 should have no

effect on Lindsay Hecox’s claims against the remaining defendants.

       6.      The parties agree to defer motions practice for attorneys’ fees concerning the

Independent School District of Boise #1, Coby Dennis, and members of the Independent School

District of Boise City #1 until final judgment concerning all claims and all Defendants in this case

is entered.   Independent School District of Boise #1, Coby Dennis, and members of the




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Independent School District of Boise City #1 do not concede that the plaintiffs are entitled to an

award of attorneys’ fees by agreeing to defer motions practice for attorneys’ fees.

       7.      Accordingly, the parties ask this Court to enter an Order:

       a.      dismissing without prejudice all claims in this case against the Independent School

       District of Boise City #1, Coby Dennis, and members of the Independent School District

       of Boise City #1;

       b.      vacating the entry of preliminary injunctive relief against the Independent School

       District of Boise City #1, Coby Dennis, and members of the Independent School District

       of Boise City #1; and

       c.      staying Plaintiff’s deadline to file a fees motion concerning the Independent School

       District of Boise #1, Coby Dennis, and members of the Independent School District of

       Boise City #1 until final judgment concerning all claims and all Defendants has been

       entered.


       DATED this 7th day of July, 2022.


 By: /s/ Kathleen Hartnett                        By: /s/ W. Scott Zanzig
     KATHLEEN HARTNETT                                W. SCOTT ZANZIG
     Counsel for Plaintiffs                           Deputy Attorney General
                                                      Counsel for Defendants


                                                  By: /s/ Roger E. Brooks
                                                       ROGER E. BROOKS
                                                       Counsel for Intervenors




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                              CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on July 7, 2022, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which sent a Notice of Electronic Filing to the
following persons:

 Richard Eppink                               Matthew K. Wilde
 Aadika Jaspal Singh                          BOISE STATE UNIVERSITY
 AMERICAN CIVIL LIBERTIES UNION               OFFICE OF GENERAL COUNSEL
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                                              and Marlene Tromp
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                                                /s/ W. Scott Zanzig
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